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                           UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW HAMPSHIRE


       Scottsdale Capital Advisors Corp. et al.,             Docket No. 1:16-cv-00545

                                      Plaintiffs
       v.

       The Deal, LLC, et al.,

                                      Defendants




                            STIPULATED PROTECTIVE ORDER



The parties have agreed to the terms of this Protective Order; accordingly, it is ORDERED:



1. Scope. All documents produced in the course of discovery, including initial disclosures,

all responses to discovery requests, all deposition testimony and exhibits, other materials which

may be subject to restrictions on disclosure for good cause and information derived directly

therefrom (hereinafter collectively “document(s)”), shall be subject to this Order concerning

confidential information as set forth below. This Order is subject to the Local Rules of this

District and of the Federal Rules of Civil Procedure on matters of procedure and calculation of

time periods.

2. Form and Timing of Designation. A party may designate documents as confidential and

restricted in disclosure under this Order by placing or affixing the words “CONFIDENTIAL -

SUBJECT TO PROTECTIVE ORDER” on the document in a manner that will not interfere with

the legibility of the document and that will permit complete removal of the CONFIDENTIAL -


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SUBJECT TO PROTECTIVE ORDER designation. Documents shall be designated

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER prior to or at the time of the

production or disclosure of the documents. In the event that documents deemed confidential by

the producing party are inadvertently produced without a “CONFIDENTIAL – SUBJECT TO

PROTECTIVE ORDER” designation, such documents are to be stamped and treated as

CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER if the producing party provides

written notice to all parties at any time up to fourteen (14) days after receipt of such documents

by a receiving party. The designation “CONFIDENTIAL - SUBJECT TO PROTECTIVE

ORDER” does not mean that the document has any status or protection by statute or otherwise

except to the extent and for the purposes of this Order.

3. Documents Which May be Designated CONFIDENTIAL – SUBJECT TO PROTECTIVE

ORDER. Any party may designate documents as CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER but only after review of the documents by an attorney or a party

appearing pro se who has in good faith determined that the documents contain information

protected from disclosure by statute or that should be protected from disclosure as confidential

personal information, trade secrets, personnel records, or commercial information. The

designation shall be made subject to the standards of Rule 11 and the sanctions of Rule 37 of the

Federal Rules of Civil Procedure. Information or documents that are available in the public

sector may not be designated as CONFIDENTIAL -SUBJECT TO PROTECTIVE ORDER.

4. Depositions. Deposition testimony shall be deemed CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER only if designated as such. Such designation shall be specific as to the

portions to be designated CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER.

Depositions, in whole or in part, shall be designated on the record as CONFIDENTIAL -



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SUBJECT TO PROTECTIVE ORDER at the time of the deposition. Deposition testimony so

designated shall remain CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER until

thirty (30) days, after delivery of the transcript by the court reporter. Within thirty (30) days after

delivery of the transcript, a designating party may serve a Notice of Designation to all parties of

record as to specific portions of the transcript to be designated CONFIDENTIAL - SUBJECT

TO PROTECTIVE ORDER. Thereafter, those portions so designated shall be protected as

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER pending objection under the terms of

this Order. The failure to serve a Notice of Designation shall waive the CONFIDENTIAL -

SUBJECT TO PROTECTIVE ORDER designation made on the record of the deposition.

5. Protection of Confidential Material.

       a. General Protections. Documents designated CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER under this Order shall not be used or disclosed by the parties, counsel

for the parties or any other persons identified in ¶ 5.b. for any purpose whatsoever other than

to prepare for and to conduct discovery, hearings and trial in this action, including any appeal

thereof.

       b. Limited Third-Party Disclosures. The parties and counsel for the parties shall not

disclose or permit the disclosure of any CONFIDENTIAL - SUBJECT TO PROTECTIVE

ORDER documents to any third person or entity except as set forth in subparagraphs 1-6.

Subject to these requirements, the following categories of persons may be allowed to review

documents that have been designated CONFIDENTIAL - SUBJECT TO PROTECTIVE

ORDER:

       1. Counsel. Counsel for the parties and employees of counsel who have responsibility

for the preparation and trial of the action;



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       2. Parties. Parties and employees of a party to this Order, but only to the extent counsel

determines that the specifically named individual party or employee’s assistance is reasonably

necessary to the conduct of the litigation in which the information is disclosed.

       3. Court Reporters and Recorders. Court reporters and recorders engaged for depositions;

       4. Contractors. Those persons specifically engaged for the limited purpose of making

copies of documents or organizing or processing documents but only after each such person has

completed the certification contained in Attachment A, Acknowledgment of Understanding and

Agreement to Be Bound.

       5. Consultants and Experts. Consultants, investigators, or experts (hereinafter referred

to collectively as “experts”) employed by the parties or counsel for the parties to assist in the

preparation and trial of this action but only after such persons have completed the certification

contained in Attachment A, Acknowledgment of Understanding and Agreement to Be Bound;

and

       6. Others by Consent. Other persons only by written consent of the producing party or

upon order of the Court and on such conditions as may be agreed or ordered. All such

persons shall execute the certification contained in Attachment A, Acknowledgment of

Understanding and Agreement to Be Bound.

       c. Control of Documents. Counsel for the parties shall make reasonable efforts to prevent

unauthorized disclosure of documents designated as CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER pursuant to the terms of this Order. Counsel shall maintain the

originals of the forms signed by persons acknowledging their obligations under this Order for

a period of six years from the date of signing.

       d. Copies. Prior to production to another party, all copies, electronic images, duplicates,



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extracts, summaries or descriptions (hereinafter referred to collectively as “copies”) of

documents designated as CONFIDENTIAL -SUBJECT TO PROTECTIVE ORDER under

this Order, or any individual portion of such a document, shall be affixed with the designation

“CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” if the word does not already

appear on the copy. All such copies shall thereafter be entitled to the protection of this

Order. The term “copies” shall not include indices, electronic databases or lists of documents

provided these indices, electronic databases or lists do not contain substantial portions or

images of the text of confidential documents or otherwise disclose the substance of the

confidential information contained in those documents.

6. Filing CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER Documents With the

Court.

         a. Filing Party’s Confidential Documents. In the event that a party seeks to file, or

reference in any filing, a document that the filing party designated as CONFIDENTIAL -

SUBJECT TO PROTECTIVE ORDER under this Protective order and the filing party seeks

to maintain the confidentiality of such document, the filing party must comply with LR 83.12

and AP 3.3 for filing the confidential document under seal.

         b. Non-Filing Party’s Confidential Documents. In the event that the filing party seeks to

file, or reference in any filing, a document that the non-filing party designated as

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER under this Protective order, the

filing party shall first consult with the non-filing party to determine whether the non-filing

party consents to filing the document in whole or in part on the public docket. If the parties

are unable to reach an agreement, the filing party shall prepare two versions of the filings, a

public and a confidential version. The public version shall contain a redaction of references to



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CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER documents and shall be filed with

the court. The confidential version shall be a full and complete version of the filing, including

any exhibits, and shall be filed with the court provisionally under seal pursuant to LR 83.12

and AP 3.3 indicating that the non-filing party seeks to maintain the confidentiality of the

redacted material. The party seeking to maintain the confidential status shall file a motion to

seal in accordance with Local Rule 83.12(c) and AP 3.3 within three (3) business days of the

filing. Failure to file a timely motion to seal could result in the pleading/exhibit being

unsealed by the court without further notice or hearing.

7. No Greater Protection of Specific Documents. No party may withhold information from

discovery on the ground that it requires protection greater than that afforded by this Order unless

the party moves for an order providing such special protection.

8. Challenges by a Party to Designation as Confidential. Any CONFIDENTIAL –SUBJECT TO

PROTECTIVE ORDER designation is subject to challenge by any party or non-party (hereafter

“party”). The following procedure shall apply to any such challenge.

       a. Objection to Confidentiality. Within thirty (30) days of the receipt of any document

designated CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER or of the refusal to

produce a document on the ground of such designation, a party may serve upon the designating

party an objection to the designation. The objection shall specify the documents to which the

objection is directed and shall set forth the reasons for the objection as to each document or

category of documents. CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER documents

to which an objection has been made shall remain CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER until designated otherwise by waiver, agreement or order of the Court.

       b. Obligation to Meet and Confer. The objecting party and the party who designated the



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documents to which objection has been made shall have fifteen (15) days from service of the

objection to meet and confer in a good faith effort to resolve the objection by agreement. If

agreement is reached confirming or waiving the CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER designation as to any documents subject to the objection, the

designating party shall serve on all parties a notice specifying the documents and the nature of

the agreement.

         c. Obligation to File Motion. If the parties cannot reach agreement as to any documents

designated CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER, for the purpose of

discovery, the designating party shall file with the court within thirty (30) days of the service

of the objection a motion to retain the CONFIDENTIAL - SUBJECT TO PROTECTIVE

ORDER designation. The moving party has the burden to show good cause for the

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER designation. The failure to file

the motion waives the CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

designation of documents to which an objection was made.

9. Court Not Bound By Parties’ Designation. Nothing in this Order or any action or

agreement of a party under this Order limits the court’s power to make orders concerning the

disclosure of documents produced in discovery, filed with the court, or used during any hearing

or at trial.

10. Use of Confidential Documents or Information at Hearing or Trial. A party who intends

to present or anticipates that another party may present at any hearing or at trial

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER documents or information derived

therefrom shall identify the issue, not the information, in a pre-hearing or pretrial memorandum.

The court may thereafter make such orders as are necessary to govern the use of such documents



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or information at a hearing or trial.

11. Obligations on Conclusion of Litigation.

        a. Order Remains in Effect. Unless otherwise agreed or ordered, the terms of this Order

shall remain in force as an agreement between the parties after dismissal or entry of final

judgment not subject to further appeal. Actions to enforce the terms of the Order after

dismissal or entry of final judgment shall be by separate legal action and not by motion for

contempt or other relief filed in this action.

        b. Return of CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

Documents. Within thirty days after dismissal or entry of final judgment not subject to

further appeal, the receiving party shall return to the producing party all documents treated as

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER under this Order, including

copies as defined in ¶ 5.d., unless: (1) the document has been offered into evidence or filed

without restriction as to disclosure; (2) the parties agree to destruction in lieu of return; or (3)

as to documents bearing the notations, summations, or other mental impressions of the

receiving party, that party elects to destroy the documents and certifies to the producing party

that it has done so. Notwithstanding the above requirements to return or destroy documents,

counsel may retain attorney work product, including an index which refers or relates to

information designated CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER, so long

as that work product does not duplicate verbatim substantial portions of the text or images of

confidential documents. This work product shall continue to be CONFIDENTIAL -

SUBJECT TO PROTECTIVE ORDER under this Order. An attorney may use his or her

work product in a subsequent litigation provided that its use does not disclose or use

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER documents.



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       c. Deletion of Documents Filed under Seal from ECF System. Filings with the court

under seal shall remain in the ECF system and not be deleted except by order of the court.

12. Order Subject to Modification. This Order shall be subject to modification by the court

on its own motion or on motion of a party or any other person with standing concerning the

subject matter. Motions to modify this Order shall be served and filed in accordance with the

Federal Rules of Civil Procedure and the Local Rules.

13. No Prior Judicial Determination. This Order is entered based on the representations and

agreements of the parties and for the purpose of facilitating discovery. Nothing herein shall be

construed or presented as a judicial determination that any documents or information designated

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER by counsel or the parties is subject

to protection under Rule 26(c) of the Federal Rules of Civil Procedure or otherwise until such

time as the court may rule on a specific document or issue.

14. Persons Bound. This Order shall take effect when entered and shall be binding upon all

counsel and their law firms, the parties, and persons made subject to this Order by its terms.




                                                              So Ordered,

                                                              __________________________
                                                              United States District Court Judge




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      STIPULATED AND AGREED TO:

                              DEVINE, MILLIMET & BRANCH, P.A.


Dated: May 30, 2017           By:         /s/ George Moore
                                George R. Moore, Esquire (NH Bar No. 1791)
                                111 Amherst Street
                                Manchester, NH 03101
                                603-669-1000


                              HARDER, MIRELL & ABRAMS, LLP

Dated: May 30, 2017           By:           /s/ Charles Harder
                                Charles J. Harder (pro hac vice)
                                Jordan Susman (pro hac vice)
                                132 South Rodeo Drive, 4th Floor
                                Beverly Hills, CA 90212
                                424-203-1600


                              SHAHEEN & GORDON, P.A.

Dated: May 30, 2017           By:           /s/Steven M. Gordon
                                Steven M. Gordon (NH Bar No. 964)
                                107 Storrs Street, P.O. Box 2703
                                Concord, NH 03302-2703
                                (603) 225-7262


                              DAVIS WRIGHT TREMAINE LLP

Dated: May 30, 2017           By:          /s/ Elizabeth A. McNamara
                                Elizabeth A. McNamara (pro hac vice)
                                John M. Browning (pro hac vice)
                                1251 Avenue of the Americas, 21st Floor
                                New York, NY 10020-1104
                                (212) 489-8240




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                           UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW HAMPSHIRE


       Scottsdale Capital Advisors Corp. et al.,             Docket No. 1:16-cv-00545

                                      Plaintiffs
       v.

       The Deal, LLC, et al.,

                                      Defendants



                ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND



       The undersigned hereby acknowledges that he/she has read the Protective Order dated

____________________________ in the above-captioned case and attached hereto, understands

the terms thereof, and agrees to be bound by its terms. The undersigned submits to the

jurisdiction of the United States District Court for the District of New Hampshire in matters

relating to the Protective Order and understands that the terms of the Protective Order obligate

him/her to use documents designated CONFIDENTIAL - SUBJECT TO PROTECTIVE

ORDER in accordance with the Order solely for the purposes of the above-captioned case, and

not to disclose any such documents or information derived directly therefrom to any other

person, firm or concern. The undersigned acknowledges that violation of the Protective Order

may result in penalties for contempt of court or for other relief under the Protective Order

agreement

                                                             __________________________




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